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              "++%)$&/ !
Entity Information                                                                                      Page 1 of 2
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NYS Department of State

Division of Corporations

Entity Information

The information contained in this database is current through March 12, 2012.


                               Selected Entity Name: CHADBOURNE & PARKE LLP
                                         Selected Entity Status Information
            Current Entity Name: CHADBOURNE & PARKE LLP
           Initial DOS Filing Date: AUGUST 08, 1995
                    County:
                 Jurisdiction:      NEW YORK
                 Entity Type:       DOMESTIC REGISTERED LIMITED LIABILITY PARTNERSHIP
            Current Entity Status: ACTIVE

                                         Selected Entity Address Information
            DOS Process (Address to which DOS will mail process if accepted on behalf of the entity)
            CHADBOURNE & PARKE LLP
            30 ROCKEFELLER PLAZA
            NEW YORK, NEW YORK, 10112
                                         Principal Executive Office
            CHADBOURNE & PARKE LLP
            30 ROCKEFELLER PLAZA
            NEW YORK, NEW YORK, 10112
                                             Registered Agent
            NONE

                                                 *Stock Information

                              # of Shares        Type of Stock       $ Value per Share
                                            No Information Available

                          *Stock information is applicable to domestic business corporations.

                                                    Name History

                             Filing Date Name Type       Entity Name
                            AUG 08, 1995 Actual    CHADBOURNE & PARKE LLP

 A Fictitious name must be used when the Actual name of a foreign entity is unavailable for use in New York State.
        The entity must use the fictitious name when conducting its activities or business in New York State.


http://appext9.dos.ny.gov/corp_public/CORPSEARCH.ENTITY_INFORMATION?p_namei... 3/13/2012 2:07:00 PM
Entity Information                                                                                 Page 2 of 2
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                      NOTE: New York State does not issue organizational identification numbers.

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